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                                   7                                UNITED STATES DISTRICT COURT

                                   8
                                                                   NORTHERN DISTRICT OF CALIFORNIA
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                                  11    X CORP., INC.,
                                  12                  Plaintiff,                           No. C 23-03698 WHA
Northern District of California
 United States District Court




                                  13            v.                                         ORDER TO COMPLETE
                                                                                           PAYMENTS
                                  14    BRIGHT DATA LTD.,
                                  15                  Defendant.

                                  16

                                  17         All payments owed to Special Master McElhinny must be received in the amounts and
                                  18    manner specified by him but in no case later than JULY 1, 2025.
                                  19         IT IS SO ORDERED.
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                                  21    Dated: June 27, 2025.
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                                  24                                                         UNITED STATES DISTRICT JUDGE
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